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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

UNITED STATES OF AMERICA,                  §
                                           §
V.                                         §         No. 3:17-cr-341-B (8)
                                           §
JOSEPH LUIS GARCIA,                        §
                                           §
             Defendant.                    §

                    MEMORANDUM OPINION AND ORDER

      In the Order Accepting Report and Recommendation of the United States

Magistrate Judge Concerning Plea of Guilty, dated August 6, 2018, United States

District Judge Jane J. Boyle has referred this matter to the undersigned United States

magistrate judge for a hearing to determine whether it has been clearly shown that

there are exceptional circumstances under 18 U.S.C. § 3145(c) why Defendant Joseph

Luis Garcia should not be detained under 18 U.S.C. § 3143(a)(2) and whether it has

been shown by clear and convincing evidence that Defendant Joseph Luis Garcia is not

likely to flee or pose a danger to any other person or the community if released under

18 U.S.C. § 3142(b) or (c). See Dkt. No. 370.

                                    Background

      Defendant is set for sentencing before Judge Boyle on October 25, 2018. See Dkt.

No. 346. “[W]hether a defendant should be released pending trial and whether a

defendant should be released pending sentencing or appeal are distinct inquiries

governed by different provisions of the Bail Reform Act.” United States v. Lee, 31 F.

App’x 151, No. 01-30876, 2001 WL 1747632, at *1 (5th Cir. Dec. 4, 2001).

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      “The provisions of 18 U.S.C. § 3143 govern release pending sentencing or

appeal.” FED. R. CRIM. P. 46(c). 18 U.S.C. § 3143(a)(2) dictates that the Court “shall

order that a person who has been found guilty of an offense in a case described in

subparagraph (A), (B), or (C) of subsection (f)(1) of section 3142 and is awaiting

imposition or execution of sentence be detained unless – (A)(i) the judicial officer finds

there is a substantial likelihood that a motion for acquittal or new trial will be granted;

or (ii) an attorney for the Government has recommended that no sentence of

imprisonment be imposed on the person; and (B) the judicial officer finds by clear and

convincing evidence that the person is not likely to flee or pose a danger to any other

person or the community.” 18 U.S.C. § 3143(a)(2).

      Defendant filed an unopposed Motion to Continue Pretrial Release in which he

identifies the exceptional circumstances under 18 U.S.C. § 3145(c) that he contends

justify his continued release post-conviction and in which he addresses whether he is

likely to flee or pose a danger to any other person or the community if released under

18 U.S.C. § 3142(b) or (c) pending sentencing. See Dkt. No. 383.

      The Court held a hearing on September 21, 2018 on the matters referred by

Judge Boyle, at which Defendant appeared in person and through counsel and the

government’s counsel appeared. See Dkt. No. 385.

                           Legal Standards and Analysis

      As a preliminary matter, Defendant is subject to mandatory detention under

Section 3143(a)(2) because he has, on a guilty plea, now been adjudged guilty of a

violation of 21 U.S.C. §§ 846 and 841(a(1) and (b)(1)(C). See Dkt. Nos. 277, 343, & 370.

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That is “an offense in a case described in subparagraph (A) ... of subsection (f)(1) of

section 3142,” specifically, “an offense for which a maximum term of imprisonment of

ten years or more is prescribed in the Controlled Substances Act (21 U.S.C. 801 et

seq.).”

          Defendant therefore must be detained pursuant to 18 U.S.C. § 3143(a)(2) unless

he meets the conditions of release set forth in Section 3143(a)(2) or 18 U.S.C. § 3145(c).

Release of “a person who has been found guilty of an offense in a case described in [18

U.S.C. § 3142(f)(1)(A)] and is awaiting imposition or execution of sentence” requires

that “the judicial officer finds by clear and convincing evidence that the person is not

likely to flee or pose a danger to any other person or the community.” 18 U.S.C. §

3143(a)(2)(B); see also United States v. Morrison, 833 F.3d 491, 506 (5th Cir. 2016)

(“The decision to detain Jacqueline after conviction is a common one because of the

presumption in favor of detention that attaches to a convicted defendant. See 18 U.S.C.

§ 3143.”); United States v. Lopez, 504 F. App’x 297, 298 (5th Cir. 2012) (“A defendant

who has been convicted ‘shall ... be detained’ pending sentencing ‘unless the judicial

officer finds by clear and convincing evidence that the person is not likely to flee or

pose a danger to the safety of any other person or the community if released.’ Thus,

there is a presumption against release pending sentencing.” (footnotes omitted)). As

the United States Court of Appeals for the Fifth Circuit has repeatedly recognized,

Federal Rule of Criminal Procedure 46(c) and Section 3143(a)(1) impose a burden on

a convicted defendant seeking release pending sentencing to show by clear and

convincing evidence that she or he is not a flight risk or a danger to the community. See

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18 U.S.C. § 3143(a)(1); FED. R. CRIM. P. 46(c) (“The burden of establishing that the

defendant will not flee or pose a danger to any other person or to the community rests

with the defendant.”); United States v. Lockett, 549 F. App’x 269 (mem.), No. 13-11097,

2013 WL 6623771, at *1 (5th Cir. Dec. 17, 2013).

      Further, Defendant must meet the conditions of release set forth in Section

3143(a)(2)(A) or 3145(c). Defendant cannot, and does not claim that he can, satisfy the

Section 3143(a)(2)(A) showing that there is a substantial likelihood that a motion for

acquittal or new trial will be granted or that an attorney for the government has

recommended that no sentence of imprisonment be imposed on Defendant.

      18 U.S.C. § 3145(c) provides that “[a] person subject to detention pursuant to [18

U.S.C. §] 3143(a)(2) or (b)(2), and who meets the conditions of release set forth in [18

U.S.C. §] 3143(a)(1) or (b)(1), may be ordered released, under appropriate conditions,

by the judicial officer, if it is clearly shown that there are exceptional reasons why such

person’s detention would not be appropriate.” As reflected in the Report and

Recommendation Concerning Plea of Guilty [Dkt. No. 359], Section 3145(c) provides

an alternative basis for pre-sentencing release under “exceptional circumstances,” so

long as Defendant also makes the required showing under Section 3143(a)(1) and

3143(a)(2)(B) – that is, by clear and convincing evidence that Defendant is not likely

to flee or pose a danger to the safety of any other person or the community if released

under 18 U.S.C. § 3142(b) or 3142(c) pending sentencing. See United States v. Carr, 947

F.2d 1239, 1240 (5th Cir. 1991).

      The Court finds that Defendant has made the required showing that he is not

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likely to flee or pose a danger to the safety of any other person or the community if

continued on release. As Defendant explains in his motion:

      1. Garcia was granted pre-trial release and is currently being supervised
      by Officer Jose Luis Mata.
      2. The Sentencing is set on 10/25/2018.
      3. Since being on pre-trial release, Garcia has never violated pre-trial
      release conditions and continues to be monitored by ankle monitor.

Dkt. No. 383 at 1.

      The issue of Defendant’s presentencing release therefore turns on whether “it

is clearly shown that there are exceptional reasons why [Defendant’s] detention

[pending sentencing] would not be appropriate.” 18 U.S.C. § 3145(c). In support of that

showing, Defendant explains that he

      is currently expecting his new born baby the end of next month. He is also
      diligently working to provide financial support for his family and
      children. He also assists in transporting his mother to her regular
      dialysis.

Dkt. No. 383 at 1.

      The United States Court of Appeals for the Fifth Circuit has explained that the

“exceptional reasons” provision “was added to § 3145(c) with the mandatory detention

provisions of § 3143(a)(2) and (b)(2) and was apparently designed to provide an avenue

for exceptional discretionary relief from those provisions.” Carr, 947 F.2d at 1240. The

United States Court of Appeals for the Second Circuit offers a working definition of

“exceptional reasons”: “a unique combination of circumstances giving rise to situations

that are out of the ordinary.” United States v. DiSomma, 951 F.2d 494, 497 (2d Cir.

1991). That court also explained that, in assessing reasons proffered as the basis for


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release under Section 3145(c), “a case by case evaluation is essential.” Id. The United

States Court of Appeals for the Eighth Circuit has similarly explained that

“‘exceptional’ means ‘clearly out of the ordinary, uncommon, or rare.’” United States v.

Little, 485 F.3d 1210, 1211 (8th Cir. 2007) (citation omitted). One court has explained

that, “to avoid emasculating the mandatory detention statute[,] ‘exceptional reasons

review is limited to determining whether remanding the defendant to custody until

sentencing would be tantamount to subjecting individuals to unjust detention.’” United

States v. Thomas, No. 10-cr-229, 2010 WL 3323805, at *2 (D.N.J. Aug. 20, 2010)

(quoting United States v. Christman, 712 F. Supp. 2d 651, 655 (E.D. Ky. 2010)).

      District courts in this circuit have noted a variety of circumstances that do not

rise to the level of exceptional. See United States v. Cyrus, No. 10-0228-04, 2010 WL

5437247, at *1-*2 (W.D. La. Dec. 27, 2010) (need to “secure his home and attend to

other personal matters” were not exceptional reasons justifying release pending

sentencing); United States v. Douglas, 824 F. Supp. 98, 99-100 (N.D. Tex. 1993)

(defendant’s cooperation with the government that subjected him to potential

retaliation by co-defendants and his attempts at rehabilitation did not constitute

exceptional reasons); United States v. Dempsey, No. 91-098, 1991 WL 255382, at *1-*2

(E.D. La. Nov. 19, 1991) (poor health, emotional and mental problems, and need to

properly prepare his business and his family for his long absence were not exceptional

circumstances); United States v. Scott, No. 1:95-CR-80-1, 1995 WL 723752, at *1-*2

(E.D. Tex. Nov. 22, 1995) (need to assist parent was a purely personal reason that was

no more exceptional than those routinely rejected by courts); see also United States v.

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Landry, No. CR 15-32-JWD-SCR, 2015 WL 5202458, at *2-*4 (M.D. La. Sept. 4, 2015);

United States v. Posada, 109 F. Supp. 3d 911, 912-16 (W.D. Tex. 2015).

      As the Court explained at the hearing, a defendant who wants to continue

working and caring for his family and who is compliant with his release conditions and

doing everything that he should generally presents circumstances that – while

commendable – are not so out of the ordinary and, in that sense, “exceptional” among

defendants who are on release at the time that they are found guilty as to justify an

exception to Section 3142(a)(2)’s rule of mandatory detention.

      But Mr. Garcia testified that his wife is due to give birth to their third child any

day now and that he works two jobs – one seven days a week caring for incapacitated

senior citizens and the other in which he transports kids with special needs to and

from a facility. As to both jobs, he will have suitable replacements hired and trained

before his sentencing, but his replacements are not yet in place.

                                     Conclusion

      The Court finds that the totality of the facts that Defendant urges as exceptional

circumstances are, taken together, a unique combination of circumstances giving rise

to a situation that is out of the ordinary among defendants who are on release at the

time that they are found guilty and in which Defendant’s presentencing detention

would not be appropriate. The Court finds that Defendant Joseph Luis Garcia has

presented so unique a combination of circumstances that is so clearly out of the

ordinary, uncommon, or rare as to justify ordering release pending sentencing under

Section 3145(c) and that Defendant Joseph Luis Garcia met his burden to clearly show

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exceptional circumstances why he should not be detained pending sentencing – that

is, exceptional reasons why his detention would not be appropriate – and to show by

clear and convincing evidence that he is not likely to flee or pose a danger to any other

person or the community if he remains on release under 18 U.S.C. § 3142(c).

         Defendant Joseph Luis Garcia is ORDERED to remain on release, subject to the

Court’s Order Setting Conditions of Release [Dkt. No. 17], as previously modified,

see Dkt. No. 56, pending his sentencing before United States District Judge Jane J.

Boyle.

         SO ORDERED.

         DATED: August 21, 2018



                                            ________________________________________
                                            DAVID L. HORAN
                                            UNITED STATES MAGISTRATE JUDGE




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